Case 6:18-bl<-O4148-CC.] Doc 18-2 Filed 10/15/18 Page 1 of-S“"

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRlCT OF FLORIDA
ORLANDO DIVISION

Case No. 6:18-bk-04l48-CCJ
ln re:
RICHARD JOHN LORENZ, JR.,
Debtor.

 

AMENDMENT TO SCHEDULES B . C, F AND
STATEMENT OF FINANCIAL AFFAIRS

COMES NOW the Debtor, RICHARD JOHN LORENZ, JR, by and through his
undersigned attorneys, and files this its Amendment to Schedules B, C, F and Staternent of
Financial Affairs and in so doing states as follows:

SCHEDULE B - PROPERTY is amended to add and amend the following:
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

Wh° has an interest in the PFOPEFW'? Ch€¢k Do not deduct secured claims or exemptions Putthe amount

 

3'1 Make: _C-M-_ °“e of a_ny secured claims on Scheciule D: Credr'i‘ors Who Have
Modei; CTS oebtor 1 only Ciarms Secured by Propeny.
years 2008 m Debtor 2 G“|y Current value of the entire Current value of the

m Debtor 1 and Debtor 2 only
ij At least one of the debtors and another

Approximate mileage: 60,000 property? portion you own?

Oiher information:
Location: 35119 Huff
Road, Eustis FL 32726

 

$5,000.00 $5,000.00

|:| Check if this is community property

(see instructional

 

 

 

 

3.2 Mai<e: Cadi|lac
Nlodei: XTS
Year: 201 3

Approximate mileage:
Other information:

 

Location: 35119 Huff
Road, Eustis FL 32726

 

 

 

17_ Deposits of money

institution name:

Who has an interest in the property? check
OnB

Debtor 1 only
I:I oebtor 2 only

Do not deduct secured claims or exemptions Put the amount
of any secured claims on Schedule D: Credi'tors Who Have
Ciaims Secured by Property.

Current value of the entire Current value of the

45,000 i:i Debtor 1 and Debtor?_ only property? portion you own?
i:i At least one of the debtors and another
i:i Check if this is community property $15,000.00 $‘15,000.00
(see instructions-l '
First Green Bank, 18251 US Highway 441, Mt.
Dora, FL 32757 - Account ending in xxx1076 $13,961.05

17.2. Checl<ing

 

Case 6:18-bl<-O4148-CC.] Doc 18-2 Filed 10/15/18 Page 2 of 6

19. Non-publicty traded stock and interests in incorporated and unincorporated businesses, including an interest in an

LLC, partnership, and joint venture

Name of entity: % of ownership:

Central Environmental Services, lnc. 100% stock

100 %

$0.00

SCHEDULE C - THE PROPERTY YOU CLAIM AS EXEMPT is amended to add,

delete and amend the following

2. For any property you list on Scheduie A/B that you claim as exempt, fill in the information below.

Amount of the exemption you claim

Check only one box for each exemptionl

§ $5,000.00

 

Brief description of the property and line on Current value of the
Scheduie A/B that lists this property portion you own
Copy the value from
§ Scheduie A/B
2008 Cadil|ac CTS 60,000 miles
Location: 35119 Hurr Road, Eustis FL $5,000.00
32726

Line from Scheduie A/B: 3.1

Checking: First Green Bank, 18251
US Highway 441, Mt. Dora, FL 32757 $13,961-05
Line from Schedule A/B: 17.2

Central Environmental Servioes, inc.
100% stock $0.00
Line from Scheduie A/B: ‘19.1

i:i 100% of fair market value, up to
any applicable Statutory limit

 

 

}!4 $13,961.05
i:i 100% of fair market value, up to

any applicable statutory limit
® 100%

i:i 100% of fair market valuel up to
any applicable statutory limit

3. Are you claiming a homestead exemption of more than $160,3'!5?
(Subject to adjustment on 4/01.'19 and every 3 years after that for cases filed on or after the date of adjustment.)

-No

Specil'tc laws that allow
exemption

F|a. Stat. Ann. § 222.25(1)
§ 222.25(4)

11 u.s.c. § 522(d)(10)(A)

F|a. Stat. Ann. § 222.25(1)

|:| Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

§ No
[:| Yes

Case 6:18-bl<-O4148-CC.] Doc 18-2 Filed 10/15/18 Page 3 of 6

SCHEDULE F - CREDITORS WHO HAVE UNSECURED CLAIMS is amended

 

 

 

to add the following:
Keil'.h KUZ|"lel' Last 4 digits of account number $1,300.00
Nonpriority Creditor's Narne
8815 Conroy-Windemere Rd. when was the debt incurred?
#106
Orlando, FL 32835
Number Street City State le Code As of the date you tilel the claim is: Check all that apply
Who incurred the debt? Check one.
g Debt0r1 only E Contingent
m Debtor 2 only m Uniiquidated
ij Debtor 1 and Debtor 2 only i:l Dlsputed
i:i At least one of the debtors and another Type °f NONPR|OR|TY unsecured °iaim:
i:| Checlt if this claim is for a community i:| Smdem loans
debt i:i Obligaiions arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
No |:i Debts to pension or profit-sharing plans, and other similar debts

oiher. _

i:i Yes specify Accou ntlng Fees

 

STATEMENT OF FINANCIAL AFFAIRS is amended to add the following

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such mattersl including personal injury cases, small claims actions, divorces, collection suits, paternity actions. support or
custody modifications and contract disputes

i:i No

 

>14 Yes. Fili in the details

Cass title Nature of the case Court or agency Status of the case
Case number

PNC Equipment Finance, LLC vs. Civi| Circuit Court, Orange >X{ Pending
Central Environmenta| Services, County |:| On appeal
|nc. and Richard Lorenz 425 N. Orange Avenue |:| Concluded
2017-CA-10897-O Orlando, FL 32801

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

i:i No
§ Yes, Fi|l in the details for each gift
Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
Person to Whom Vou Gave the Gift and
Address:
Sky|a Ray Stefan $2000 to education trust for June 2, 2018 $2,000.00

granddaughter

Person's relationship to you: Granddaughter

Case 6:18-bl<-O4148-CC.] Doc 18-2 Filed 10/15/18 Page 4 of 6

l, RICHARD JOHN LORENZ, JR, as Debtor in this case, declare under penalty of
perjury that l have read the foregoing Arnendmenis, and it is true and correct to the best of my

knowledgc, information and belief

as 'Ocr 0 91 zma ' /

ay: ioan JonN Loaz::y
Ii~lERE`.BY CERTlFY that a hue and correct cop of this Amendment tedules B, C, F

and Statement of Financial Affairs have been furnished by U.S. Mail to all creditors on the attached

creditor matrix on this f day of // "./ ,2018.

_/Z/<z/i ~

// '
Lawrence M. Kosto, Esquire
KOSTO & ROTELLA, P.A.
425 E. Washington Street
P.O. Box 113
Orlando, FL 32802
Tel. 407-425-3456
Fax 407-423 -9002
FL BarNo. 0765325
Attorneys for Debtor

lltosto@irostoaudrotella.com

CaSe 6218-bi<-O4148-CC.] DOC 18-2 Filed 10/15/18

Label Matrix for local noticing

113A-6

Case 6:18-bk-04148-CCJ
Middle District of Florida
0rlando

Thu OCt 11 16:36:25 EDT 2018

AirGas USA, LLC
P.O. Box 9249
Marietta, GA 30065-2249

Barr Credit Services
5151 E. Broadway Blvd.
Ste. 000

Tucson, AZ 85711-3775

Centev-UZ

c/o AFCO

5600 N. River Road

Ste. 400

Des Plaines, IL 60018-5107

Central Environtmental
1710 N. Orange Blossom Trail
Orlando, FL 32804-5603

Citibank/The Home Depot
Centralized Bankruptcy
Po Box 790034

St Louis, MO 63179-0034

Discover Bank

Discover Products Inc

20 Box 3025

New hlbany, OH 43054-3025

Donald J. Smyth, Jr., as
Trustee of Smyth Lumher and
Smyth Enterprises, Inc.
6363 Edgewater Drive
Orlando, FL 32810-4711

Internal Revenue Service
Post Office Box 7346
Philadelphia PA 19101-7346

NFS Leasinq, Inc.

900 Cummings Center
Ste_ 226-U

Beverly, MA 01915-6183

Donald J. Smyth, Jr., Trustee and Smyth Ente
c/o Worman & Sheffler, PA

2707 H. Fairbanks Avenue

Suite 200

Winter Park, FL 32789-3342

Bank of America

4909 Savarese Circle
F11-908-01-50

Tampar FL 33534-2113

Bayview Loan Servicing
P.O. Box 31185
Tampa, FL 33631-3785

Central Environmental
1710 N. Orange Blossom Tr.
Orlandor FL 32804-5603

Citi
P.O. Box 790046
Saint Louisr MO 63179-0046

Citicards

Citicorp Credit Services/Attn: Central
Po Box 790040

Saint Louis, MD 53119-0040

Discover Financial
Po Box 3025
New Albany, OH 43054~3025

Florida Department of Revenue
Bankruptcy Unit

Post Office ch 6668
Tallahassee FL 32314~6568

Lake County Tax Collector
320 Main Street #A
Tavares, FL 32778-3831

Orange County Tax Collector
Earl K. Hecd, Tax Collector
P.O. Box 2551

Orlando, FL 32802-2551

Page§oi6

Richard John Lorenz Jr.
35119 Huff Road
Eustisr FL 32736-8885

ip}strr or retires
ro sex 982238
rt esso rx 79998-2233

Bridgefield Employers
Insurance Company

cfc Dale Jacobs, Esqutre
3730 Cleveland Haights Blvd.
Laketand, FL 33803-0212

Central Environmental Svcs.
2272 Apopka Blvd.
Apopka, FL 32103

Citibank/Sears
Centralized Bankruptcy
Po Box 790034

St Louis, MO 63179-0034

David Orr, Esquire

5801 Ulmerton Road

Ste. 201

Clearwater, FL 33760-3951

Disccver Perscnal Loan

Attn: Bankruptcy

Po Box 30954

Salt Lake City, UT 84130~0954

IPFS
P.O. Box 412086
Kansas City, MO 64141~2086

Lake County Tax Collector
Attn: Bob McKee

Post Office Box 327
Tavares FL 32778-0327

Orange County Tax Collector
P.O. Box 545100
erlando, FL 32854-5100

CaSe 6218-bi<-O4148-CC.] DOC 18-2 Filed 10/15/18

Robert B. Wornan, Esquire
2707 W. Fairbanks Ave.
Ste. 200

Winter Park, FL 32789-3342

Synchrony Bank/Lowes
Attn: Bankruptcy Dept
Po Box 965000

Orlando, FL 32896-5060

US Bank/RMS CC/AAA Dollars
Attn: Bankruptcy

Po Box 5229

Cincinnati, OH 45201~5229

Marie E. Henkel +
3560 South Magnolia Avenue
Orlando, FL 32805~6214

United States Trustee ~ 0RL7/13 +
Office of the United States Trustee
George C Young Federal Building

400 West Washington Street, Suite 1100
Orlandcl FL 32001-2210

Royal Flush
P.O. Box 161410
Altamonte Springs, FL 32716-1410

Synchrony Bank/Walnart
Attn: Bankruptcy Dept
Po Box 965060

0rlando, FL 32096-5060

Waterlogic USA Inc. - Northeast
BARR Credit Services `
5151 E. Broadway Blvd., Ste. 000
Tucscn, AZ 85711-3775

Lawrence M Kosto +

Kosto & Rotella, P.A.

619 East washington Street
Orlando, FL 32801-2969

Wanda D Murray +

Aldridge Pite, LLP

Fifteen Piedmont Center

3575 Piedmont Road, N,E., Suite 500
Atlanta, Gli 30305-1635

Page 6 of 6

Seacoast Bank
P.O. Box 912
Stuart, FL 34995-0912

The Bank of New tort Mellon

cfc Christopher T. Peck, Esq
1515 S. Congress Avenue

Ste. 200

Delray Beach, FL 33445-6326

Wells Fargo

hac StlDl-OSD

P.O. ch 29482
Phoenix, AZ 05038-9482

Robert B Worman +

dorman & Shefflerr P.A.
2707 West Fairbanks Avenue
Suite 200

Winter Park, FL 32789-3342

Rachel L Ahlum t

Aldridge Pite LLP

Fifteen Piedmont Center

3575 Piedmont Road, N.E., Suite 500
htlanta, GA 30305-1636

The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(£] and Fed.R.Bank.P. 2002 ig)(t].

Bank cf America
ATTN: Bankruptcy
P.O. Box 902238
El Paso, TK 79998

The following recipients may be/have been bypassed for notice due to an vndeliverable (ui or duplicate id} address.

[uiBayview Loan Servicing LLC, ns Servicer Fo

iuiBayview Loan Servicingr LLC

End of Label Matrix

Mailable recipients 44
Bypassed recipients 2
Total 46

